           Case 1:18-vv-01547-UNJ Document 32 Filed 11/15/19 Page 1 of 5




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-1547V
                                    Filed: October 15, 2019
                                        UNPUBLISHED


    PAULETTE FALBO,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Damages Decision Based on Proffer;
    SECRETARY OF HEALTH AND                                  Influenza (Flu) Vaccine; Shoulder
    HUMAN SERVICES,                                          Injury Related to Vaccine
                                                             Administration (SIRVA)
                       Respondent.


Jessica Ann Wallace, Siri & Glimstad, LLP, New York, NY, for petitioner.
Julia Marter Collison, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Corcoran, Chief Special Master:

        On October 5, 2018, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury caused-in-fact by
the influenza vaccination she received on September 26, 2017. Petition at ¶¶ 3, 14.
The case was assigned to the Special Processing Unit of the Office of Special Masters.

        On September 20, 2019, a ruling on entitlement was issued, finding petitioner
entitled to compensation for her shoulder injury. On October 7, 2019, respondent filed a
proffer on award of compensation (“Proffer”) indicating petitioner should be awarded
$115,354.00, representing $115,000.00 for actual and projected pain and suffering and

1
  The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:18-vv-01547-UNJ Document 32 Filed 11/15/19 Page 2 of 5



$354.00 for actual unreimbursable expenses. Proffer at 1-2. In the Proffer, respondent
represented that petitioner agrees with the proffered award. Id. Based on the record as
a whole, the undersigned finds that petitioner is entitled to an award as stated in the
Proffer.

        Pursuant to the terms stated in the attached Proffer, I award petitioner a lump
sum payment of $115,354.00, representing $115,000.00 for actual and projected
pain and suffering and $354.00 for actual unreimbursable expenses in the form of
a check payable to petitioner, Paulette Falbo. This amount represents compensation
for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
               Case 1:18-vv-01547-UNJ Document 32 Filed 11/15/19 Page 3 of 5



                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                             OFFICE OF SPECIAL MASTERS

                                                     )
 PAULETTE FALBO,                                     )
                                                     )
                    Petitioner,                      )
                                                     )   No. 18-1547V
 v.                                                  )   Chief Special Master Corcoran
                                                     )   ECF
 SECRETARY OF HEALTH AND HUMAN                       )
 SERVICES,                                           )
                                                     )
                    Respondent.                      )
                                                     )

                 RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

          On October 5, 2018, Paulette Falbo (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), alleging that she suffered left shoulder pain as a result of an influenza (“flu”) vaccine

administered on September 26, 2017. On September 20, 2019, the Chief Special Master issued a

Ruling on Entitlement finding petitioner entitled to compensation.

I.        Items of Compensation

          A.       Pain and Suffering

          Respondent proffers that petitioner should be awarded $115,000.00 in actual and

projected pain and suffering. This amount reflects that the award for projected pain and

suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.

          B.       Unreimbursable Expenses

          Evidence supplied by petitioner documents petitioner’s unreimbursable expenses as a

result of her vaccine injury. Respondent proffers that petitioner should be awarded
          Case 1:18-vv-01547-UNJ Document 32 Filed 11/15/19 Page 4 of 5



unreimbursable expenses in the amount of $354.00, as provided under the Vaccine Act, 42

U.S.C. § 300aa-15(a)(1)(B). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following1: a lump sum payment of $115,354.00, representing

compensation for pain and suffering ($115,000.00), and past unreimbursable expenses ($354.00),

in the form of a check payable to petitioner, Paulette Falbo.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Paulette Falbo:                              $115,354.00



                                              Respectfully submitted,


                                              JOSEPH H. HUNT
                                              Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              CATHARINE E. REEVES
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Assistant Director
                                              Torts Branch, Civil Division



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       Should petitioner die prior to entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future lost
earnings and future pain and suffering.
                                                 2
         Case 1:18-vv-01547-UNJ Document 32 Filed 11/15/19 Page 5 of 5



                                    /s/ Julia M. Collison
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Dated:       October 7, 2019




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